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                        IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )                       8:08CR89
                                    )
            v.                      )
                                    )
REMIGIO PINTO, JR.,                 )                    PRELIMINARY ORDER
LUIS ZALAS-VEGO,                    )                     OF FORFEITURE
HUGO RAMIREZ,                       )
                                    )
                  Defendants.       )
____________________________________)


               This matter is before the Court upon the United States' Motion for Issuance of

Preliminary Order of Forfeiture (Filing No. 85). The Court has reviewed the record in this case

and finds as follows:

               1. Defendants have entered into Plea Agreements, whereby they have agreed to

plead guilty to Counts V, VI, VII and X of said Indictment. Count V charges the defendant,

Remigio Pinto, Jr., with one count of possessing with intent to distribute methamphetamine, in

violation of 21 U.S.C. §§ 841(a)(1)&(b)(1). Count VI charges the defendant, Luis Zalas-Vego,

with one count of possessing with intent to distribute methamphetamine, in violation of 21

U.S.C. §§ 841(a)(1)&(b)(1). Count V charges the defendant, Hugo Ramirez, with one count of

possessing with intent to distribute methamphetamine, in violation of 21 U.S.C.

§§ 841(a)(1)&(b)(1). Count X of said Indictment sought the forfeiture, pursuant to 21 U.S.C.

§ 853, of $106.00, $614.00, $112.00, $1,800.00 and $81.00, on the basis they were used or were

intended to be used to facilitate said controlled substance violation and/or were derived from
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proceeds obtained directly or indirectly as a result of the commission of said controlled substance

violation.

               2. By virtue of their pleas of guilty, the defendants forfeit their interest in the

subject properties, and the United States should be entitled to possession of said properties,

pursuant to 21 U.S.C. § 853.

               3. The United States' Motion for Issuance of Preliminary Order of Forfeiture

should be sustained. Accordingly,

               IT IS ORDERED:

               A. The United States' Motion for Issuance of Preliminary Order of Forfeiture is

hereby sustained.

               B. Based upon Count X of the Indictment and the defendants’ pleas of guilty, the

United States is hereby authorized to seize the $106.00, $614.00, $112.00, $1,800.00 and

$81.00.

               C. Defendants’ interest in said properties are hereby forfeited to the United States

for disposition in accordance with the law, subject to the provisions of 21 U.S.C. § 853(n)(1).

               D. The aforementioned forfeited properties are to be held by the United States in

its secure custody and control.

               E. Pursuant to 21 U.S.C. § 853(n)(1), the United States forthwith shall publish at

least once for three successive weeks in a newspaper of general circulation, in the county where

the subject properties are situated, notice of this Order, Notice of Publication evidencing the

United States’ intent to dispose of the properties in such manner as the Attorney General may

direct, and notice that any person, other than the defendants, having or claiming a legal interest in


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any of the subject forfeited properties must file a Petition with the court within thirty days of the

final publication of notice or of receipt of actual notice, whichever is earlier.

                F. Said published notice shall state the Petition referred to in Paragraph E., above,

shall be for a hearing to adjudicate the validity of the Petitioner's alleged interest in the

properties, shall be signed by the Petitioner under penalty of perjury, and shall set forth the nature

and extent of the Petitioner's right, title or interest in the subject properties and any additional

facts supporting the Petitioner's claim and the relief sought.

                G. The United States may also, to the extent practicable, provide direct written

notice to any person known to have alleged an interest in the properties subject to this Order as a

substitute for published notice as to those persons so notified.

                H. Upon adjudication of all third-party interests, this Court will enter a Final

Order of Forfeiture pursuant to 21 U.S.C. § 853(n), in which all interests will be addressed.

                DATED this 22nd day of July, 2008.

                                                BY THE COURT:

                                                /s/ Lyle E. Strom

                                                LYLE E. STROM, Senior Judge
                                                United States District Court




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